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                              Exhibit 1
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                                                                                                USOOD957138S


   ( 12 ) You
          United States Design Patent ( 10 ) Patent No .:                                                      US D957,138 S
                                                                                                                       Jul . 12 , 2022
                                                                            (45 ) Date of Patent :

   ( 54 ) SNOW BRUSH                                                           D834,328 S * 11/2018 Thompson                  A47L 13/12
                                                                                                                                 D4 / 118
   ( 71 ) Applicant: Ningbo Yongjia Aiduo Auto Parts                           D925,234 S *        7/2021 Waxman                 D4 / 118
                                                                          2011/0188923 A1 *        8/2011 Lafleur           A46B 15/0055
                     Manu Co. , Ltd. , Zhejiang ( CN)                                                                             403/53
   ( 72 ) Inventor: Haiyong You , Ningbo ( CN )                                         OTHER PUBLICATIONS
   ( 73 ) Assignee : NINGBO YONGJIA AIDUO AUTO                          Amazon - Astro Al; “ Astro AI Ice Scrapers for Car
                        PARTS MANU CO . , LTD .                         Windshield         " ; [ online ] ' https://www.amazon.com/dp/
                                                                        B08SC32J5H ' ; dated Jan. 8 , 2021 ; accessed May 7 , 2022 ; 4pgs .
   ( ** ) Term :        15 Years                                        ( Year: 2021 ) . *
   ( 21 ) Appl. No .: 29 /801,137                                       * cited by examiner
   (22 ) Filed :     Jul . 27 , 2021                                    Primary Examiner Keli L Hill
   ( 51 ) LOC ( 13 ) Cl .                                     04-01     ( 57 )              CLAIM
   ( 52 ) U.S. CI .                                                     The ornamental design for snow brush , as shown and
            USPC                                            D4 /118     described .
   ( 58 ) Field of Classification Search                                                          DESCRIPTION
            USPC         D4/ 116–118 , 121 , 130 , 132 , 134 , 138 ;
                                 D32 /35 , 40–42 , 46 , 49 , 51 , 52
            CPC     A46B 3/18 ; A46B 5/00 ; A46B 9/021 ; A46B           FIG . 1 is a left side view thereof;
                       11/00 ; A46B 11/0003 ; A46B 2200/1053 ;          FIG . 2 is a right side view thereof;
                                    A45D 40/26 ; A45D 40/265            FIG . 3 is a bottom view thereof;
            See application file for complete search history.           FIG . 4 is a top view thereof;
                                                                        FIG . 5 is a front view thereof;
   ( 56)                    References Cited                            FIG . 6 is a back view thereof;
                    U.S. PATENT DOCUMENTS
                                                                        FIG . 7 is a perspective view thereof; and ,
                                                                        FIG . 8 is another perspective view thereof, shown in use
           7,155,770 B2 *    1/2007 Anderson            A47L 13/12      with the handle in an extended position .
                                                          15 / 236.02   The broken lines shown are included for the purpose of
           D656,735 S * 4/2012 Zupan                  A46B 15/0055      illustrating portions of the snow brush that form no part of
                                                             D4/ 118    the claim .
           9,145,112 B1 * 9/2015 Ihde                  A46B 5/0054
           D834,327 S * 11/2018 Tschopp                    D4/ 118                           1 Claim , 7 Drawing Sheets




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                                                           2
                                                           FIG
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                                                           FIG
                                                           4
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                                                           FIG
                                                           3
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                                                          FIG
                                                          5
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                                                            FIG
                                                            7




                                    IDEO
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                                                           FIG




                                         1810
